Case 24-11442-MFW   Doc 351-3   Filed 09/20/24   Page 1 of 4




             EXHIBIT B
              (Demand Letter)
                     Case 24-11442-MFW                     Doc 351-3             Filed 09/20/24              Page 2 of 4
                                                                                                 Squire Patton Boggs (US) LLP
                                                                                                 2550 M Street NW
                                                                                                 Washington 20037

                                                                                                 O   +1 202 457 6000
                                                                                                 F   +1 202 457 6315
                                                                                                 squirepattonboggs.com



                                                                                                 Christopher J. Giaimo
                                                                                                 T +1 202 457 6461
                                                                                                 christopher.giaimo@squirepb.com



May 16, 2024

VIA EMAIL AND CERTIFIED MAIL

William J. Rouhana, Jr.
wrouhana@chickensoupforthesoul.com
Chief Executive Officer
Chicken Soup for the Soul Entertainment, LLC
132 E. Putnam Ave.
Cos Cob, CT 06807

Re: Notice of Demand for Payment of Unpaid Amounts and Notice of Document
    Preservation related to that

Dear Mr. Rouhana:

       Please be advised that my firm has been retained by EG Retail (America), LLC (“EG
America”) to seek collection of amounts past due and owing under the Kiosk Operating Agreement
dated April 20, 2018 (the “Agreement”) and the December 7, 2024 Letter Agreement (the “Letter
Agreement” together with the Agreement, the “Agreements”) between EG America and Chicken
Soup for the Soul Entertainment, LLC, as successor-in-interest to Redbox Automated Retail, LLC
(“CSSE”).

        As you were previously informed by letters dated June 29, 2023, March 21, 2024, and April
22, 2024, CSSE has been, and continues to be, in material breach of the Agreements, and has made
no attempt to cure such breaches. As a result, the Agreements have been terminated. As you are
further aware, CSSE is indebted to EG America for (i) $105,989.75 as the total amount due and
owing under the Agreements based on records provided by CSSE; and (ii) all costs incurred by
EG America to remove the Redbox kiosks from all EG America’s locations. The breakdown of
commissions due and owing to EG America are set forth as follows:

                 •    $26,021.06 (Q4 2022)                                                 •     $20,624.82 (Q1 2023)
                 •    $22,186.26 (Q2 2023)                                                 •     $18,453.51 (Q3 2023)
                 •    $11,888.00 (Q4 2023)                                                 •     $6,816.10 (Q1 2024)

These amounts are calculated based on statements provided by CSSE and, thus, are undisputed.


Over 40 Offices across 4 Continents

Squire Patton Boggs (US) LLP is part of the international legal practice Squire Patton Boggs, which operates worldwide through a number of separate
legal entities.

Please visit squirepattonboggs.com for more information.
                Case 24-11442-MFW         Doc 351-3      Filed 09/20/24       Page 3 of 4
Squire Patton Boggs (US) LLP
                                                                    May 16, 2024




         Unless payment in full of the foregoing is made within ten (10) days of the date of this
letter, as well as reasonable accommodations are made to remove the kiosks in a timely manner, I
have been authorized to immediately initiate legal proceedings against CSSE to collect such
amounts, including the cost of removal of the kiosks, by any means allowable under applicable
law, all legal and equitably remedies being expressly reserved.

       It is in my client’s and your mutual interest to avoid the foregoing. Accordingly, I
encourage you to please contact me or Dave Allen, Senior Corporate Counsel at EG America,
david.allen@egamerica.com, (503) 389-3804, at your earliest convenience, so that we may arrange
for your payment of the outstanding amounts and removal of the kiosks.

         Please be further advised that this letter is not intended to, and does not, constitute a waiver
of any rights or remedies that EG America may have pursuant to the terms of the Agreements. No
failure to exercise any rights or remedies available to EG America and no delay in exercising any
such rights or remedies shall operate as a waiver of any rights that EG America may have pursuant
to the terms of the Agreements or otherwise. Further, any reference by the undersigned on behalf
of EG America to any defaults mentioned herein shall in no way constitute, or be construed to be,
a waiver of any other default, which may now exist, or hereafter arise under the Agreements.

      Please be advised that any future discussions between EG America and CSSE regarding
the amounts due and owing under the Agreements should not be relied upon by CSSE in any
manner or fashion unless and until a binding, written agreement has been fully executed by and
between all parties.

       Lastly, EG America hereby notifies CSSE to preserve all electronically stored information,
copies and backup, as defined by Rule 34 of the Federal Rules of Civil Procedure, along with any
paper files that CSSE maintains, relevant to the foregoing. To the extent this matter is not
consensually resolved, EG America may seek electronic data in CSSE’s custody and control in
discovery that is relevant to its collections efforts, including, without limitation, emails and other
information contained on CSSE’s computer systems and any electronic storage systems relating
to EG America, the Agreements and the kiosks.




                                                                                                       2
                Case 24-11442-MFW        Doc 351-3      Filed 09/20/24      Page 4 of 4
Squire Patton Boggs (US) LLP
                                                                  May 16, 2024




       This letter supersedes any prior communications between EG America and CSSE regarding
this matter.

          Thank you for your attention and anticipated cooperation in this matter.

THIS LETTER IS AN ATTEMPT TO COLLECT A DEBT.                                ANY INFORMATION
OBTAINED WILL BE USED FOR THAT PURPOSE.



Sincerely,




Christopher Giaimo


cc:       Lou Occhicone (locchicone@chickensoupforthesoul.com)
          David Allen, Esq. (David.Allen@eg-america.com)
          Gregory C. Djordjevic, Esq. (Gregory.Djordjevic@squirepb.com)




                                                                                           3
